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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF IDAHO


 AHNIAH SELENE; KASSIE HOWE;
 DISABILITY ACTION CENTER –                   Case No. 1:21-cv-00021-DCN
 NORTHWEST, INC.; DISABILITY RIGHTS
 IDAHO; LIVING INDEPENDENCE
 NETWORK CORPORATION IDAHO; LIFE, A            MOTION FOR A TEMPORARY
 CENTER FOR INDEPENDENT LIVING; AND            RESTRAINING ORDER OR, IN THE
 INTERMOUNTAIN FAIR HOUSING                    ALTERNATIVE, A PRELIMINARY
 COUNCIL,                                      INJUNCTION

 PLAINTIFFS,
      v.

 LEGISLATURE OF THE STATE OF
 IDAHO,
MOTION FOR A TEMPORARY RESTRAININ
                                1 G ORDER OR, IN THE ALTERNATIVE, A
PRELIMINARY INJUNCTION - 1
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 SCOTT BEDKE, in his official capacity
 as Speaker of the House of
 Representatives of the State of Idaho,

 CHUCK WINDER, in his official capacity
 as President Pro Tempore of the Idaho
 State Senate,

 Defendants.


       For the reasons stated in the accompanying memorandum, Plaintiffs respectfully move for

a temporary restraining order or, in the alternative, a preliminary injunction against Defendants

Idaho State Legislature, Speaker of the Idaho House of Representatives Scott Bedke, and President

Pro Tempore of the Idaho Senate Chuck Winder, restraining them from implementing and

enforcing a policy that denies Plaintiffs the right to participate fully and safely in the 2021 Idaho

legislative session and ordering Defendants to grant a reasonable modification that ensures

Plaintiffs can safely and fully participate in the Idaho legislative process.

       Plaintiffs submit the following declarations in support of this Motion:

       (1) Declaration of Ahniah Selene;

       (2) Declaration of Kassie Howe;

       (3) Declaration of Mark Leeper, Executive Director, Disability Action Center – Northwest,

           Inc.;

       (4) Declaration of Amy Cunningham, Executive Director, DisAbility Rights Idaho;

       (5) Declaration of Jeremy Maxand, Executive Director, Living Independence Network

           Corporation Idaho;

       (6) Declaration of Heather Clarke, Deputy Director, Life, A Center for Independent

           Living; and


MOTION FOR A TEMPORARY RESTRAININ
                                2 G ORDER OR, IN THE ALTERNATIVE, A
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       (7) Declaration of Zoe Ann Olson, Executive Director, Intermountain Fair Housing

           Council.

       Plaintiffs request that the Court hold a hearing on Plaintiffs’ Motion where oral argument

may be presented. In light of the constitutional interests asserted, Plaintiffs believe that oral

argument is warranted and will aid the Court’s disposition of Plaintiffs’ Motion.



                                                     Respectfully submitted,

        DATED: January 11, 2021.
                                                   STOEL RIVES LLP



                                                    /s/ Wendy J. Olson
                                                   Wendy J. Olson
                                                   Elijah M. Watkins

                                                   Attorneys for Plaintiffs




MOTION FOR A TEMPORARY RESTRAININ
                                3 G ORDER OR, IN THE ALTERNATIVE, A
PRELIMINARY INJUNCTION - 3
